                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION


BoDeans Cone Company, L.L.C.;                           Civil No. 5:09-cv-4014
BoDeans Wafer Company, L.L.C.;
BoDeans Baking Holding Company,
L.L.C.,
                                                            COMPLAINT
                        Plaintiffs,
                                                     JURY TRIAL DEMANDED
vs.

Norse Dairy Systems; Interbake Foods
L.L.C.,

                      Defendants.



      For their Complaint against Defendants Norse Dairy Systems and Interbake Foods

L.L.C. (collectively “NDS”), Plaintiffs BoDeans Cone Company, L.L.C.; BoDeans

Wafer Company, L.L.C.; and BoDeans Baking Holding Company, L.L.C. (collectively

“BoDeans”) state and allege as follows:

                                      INTRODUCTION

      1.     Through acquisition and anticompetitive practices, NDS has acquired and

maintained monopoly control over two distinct markets: the market for cones and the

market for wafers used in the production of novelty ice cream products. Indeed, until

BoDeans entered each respective market, NDS dominated these industries with nearly

100% market shares.




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      2.     With the support of a manufacturer of novelty ice cream products

dissatisfied with NDS’s dominance of the market, BoDeans began manufacturing ice

cream cones in 2000. By investing in state-of-the-art manufacturing facilities in Le Mars,

Iowa, BoDeans began producing high quality novelty cones as efficiently, and on

information and belief more efficiently, than NDS. Customers quickly responded to the

arrival of competition and BoDeans’lower prices, and BoDeans earned approximately a

35% share of the market with its high-quality, low-cost cones.

      3.     BoDeans sought to duplicate this success by building a state-of-the-art plant

for production of wafers in 2006. NDS responded by abusing its monopoly power to

avoid competition with BoDeans on the merits. In particular, NDS implemented multiple

anticompetitive contractual arrangements with cone and wafer purchasers including:

                 • multi-year exclusive contracts requiring customers to purchase 100%

                    of cones and/or wafers from NDS;

                 • bundled pricing packages with products that BoDeans does not offer,

                    rendering BoDeans unable to compete on the prices of cones and

                    wafers independently, even though it is as efficient a producer; and

                 • inclusion of exclusionary provisions in mandatory contracts leasing

                    the machines used to fill NDS cones and wafers.

      4.     NDS’s anticompetitive contracts have had their intended effect: both

existing and potential customers of BoDeans have declined to purchase cones and wafers

from BoDeans as a result. NDS has maintained its share of the wafer market at more




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than 85%, and it has reasserted monopoly control –or has a dangerous probability of

doing so –over the novelty cone market with greater than 60% market share.

       5.     NDS’s abuse of monopoly power has inflicted profound harm on BoDeans

and competition in the making of novelty cones and wafers. With lost customers,

BoDeans faces the imminent prospect of contracting its business. Customers have lost

the benefit of competition in the cone and wafer markets, a reality that will likely become

permanent without the Court’s intervention.

                                        PARTIES

       6.     BoDeans Baking Holding Company, L.L.C. is an Iowa corporation with its

principal place of business located in Le Mars, Iowa. BoDeans Wafer Company, L.L.C.

and BoDeans Cone Company, L.L.C. are both Iowa corporations with their principal

places of business located in Le Mars, Iowa. Both entities are wholly owned subsidiaries

of BoDeans Baking Holding Company, L.L.C.

       7.     Norse Dairy Systems is a subsidiary of Interbake Foods L.L.C. Its

principal place of business is located in Columbus, Ohio.

       8.     Interbake Foods L.L.C. is a Delaware corporation with its principal place of

business located in Front Royal, Virginia. It is a wholly owned subsidiary of George

Weston Ltd., a large Canadian conglomerate. Interbake Foods L.L.C. has facilities

throughout the Midwest and is registered to do business in Iowa.

                            JURISDICTION AND VENUE

       9.     Pursuant to Section 4 of the Clayton Act, 15 U.S.C. § 15(a), and 28 U.S.C.

§§ 1331 and 1337, this Court has subject matter jurisdiction as this action arises under


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Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2, and Section 3 of the Clayton

Act, 15 U.S.C. §§ 14 and 18. The Court may grant declaratory relief pursuant to 28

U.S.C. § 2201.

       10.     The Court has jurisdiction to grant preliminary and permanent injunctive

relief pursuant to 15 U.S.C. § 26 and Fed. R. Civ. P. 65.

       11.     The Court has supplemental jurisdiction over BoDeans’claim under Iowa

law pursuant to 28 U.S.C. § 1367.

       12.     This Court has personal jurisdiction over NDS, which regularly transacts

and solicits business in Iowa, including the Northern District of Iowa.

       13.     Pursuant to 28 U.S.C. § 1391(b)-(c), venue is proper in this district because

NDS is a corporate defendant subject to personal jurisdiction in this district and NDS has

orchestrated its illegal and anticompetitive conduct with the intent to harm BoDeans, a

resident of this district.

                                RELEVANT MARKETS

       14.     Ice cream cones are produced and sold through three distinct channels of

distribution for different end uses: retail/grocery, food service, and novelty. Novelty

cones are used as ingredients by dairies or other food manufacturers to make novelty ice

cream products, such as sundae cones. Cones sold through grocery stores are ultimately

purchased and filled by consumers, and cones sold to restaurants or food service

customers are generally filled by hand at the point of sale to consumers.

       15.     Novelty cones constitute a distinct product market under the antitrust laws.

Novelty cones are generally filled by machine rather than by hand, must be suitable for


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specialized sleeves and filling, and are subject to particular quality standards. Novelty

cones are sold to distinct customers and through distinct channels of distribution.

Novelty cones must be compatible with filling machines used by dairies to produce

finished and filled novelty ice cream products. Dairies require more stringent adherence

to food safety standards and requirements than purchasers of retail or food service cones.

       16.    As a result, purchasers of novelty cones will not substitute retail or food

service cones in response to a small but significant non-transitory price increase for

novelty cones. Nor are manufacturers of retail or food-service cones likely to enter the

novelty cone market in response to such an increase given its unique requirements,

equipment, distribution, and customers. Because novelty cones are ingredients of filled

ice cream products, demand for such cones is relatively inelastic and price insensitive.

       17.    The novelty cone market is characterized by barriers to entry including

sufficient scale of operation to compete efficiently, capital investment, food safety

requirements, quality standards established by both government agencies and dairies,

process technology, and compatibility with filling machines.

       18.    Wafers are also used by dairies and food manufacturers to produce novelty

ice cream products, such as ice cream sandwiches. Unlike novelty cones, wafers are

uniquely made for this purpose, and there is no separate channel of distribution for retail

or food-service wafers. Production of wafers requires unique and distinct machine

processes.

       19.    Ice cream wafers constitute a distinct product market under the antitrust

laws. Dairies have no alternative products that can be substituted in response to a small


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but significant non-transitory price increase for wafers. Like novelty cones, demand for

wafers is relatively inelastic and price insensitive because wafers are an ingredient or

component product.

       20.    The wafer market is characterized by the same barriers to entry that

confront would-be entrants to the novelty cone market. Producing a consistently high

quality product is even more difficult and poses an even higher obstacle to market entry.

Like novelty cones, wafers must be compatible with filling machines used to make

finished ice cream products.

       21.    Machines used to fill novelty ice cream products constitute a distinct

product market under the antitrust laws. These machines are designed solely for this

purpose, and product substitutes do not exist. Demand for filling machines is determined

by the production needs for filled ice cream products, and is therefore relatively inelastic

and price insensitive.

       22.    The market for filling machines is characterized by high barriers to entry.

Production of filling machines requires significant capital investment, engineering, and

product development and servicing.

       23.    The relevant geographic market is North America, specifically the United

States and Canada. Producers of novelty cones and wafers located outside of North

America face significant additional barriers to competing in these markets that effectively

preclude such producers as viable potential competitors. Barriers include logistics

associated with economically shipping low weight products overseas, timely supply

required in the food industry, foreign conversion rates, maintaining quality through


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overseas shipping, and compliance with government safety requirements across

jurisdictions.

                                           FACTS

NDS’s Dominance Of The Novelty Cone, Wafer, And Associated Equipment
Markets

       24.       NDS achieved monopoly control over the novelty cone and wafer markets

by acquiring all competitors in a series of acquisitions. By 2000, NDS possessed a 100%

share of the novelty cone market and a 97% share of the wafer market. Customers for

novelty cones and wafers had no viable alternatives to NDS.

       25.       In addition to acquiring monopolies in the novelty cone and wafer markets,

NDS also achieved a dominant position in the market for packaging used to make novelty

ice cream products. Ice cream products that do not use cones or wafers require tubes or

cups to produce push-up tube treats or novelty cups. Cone and wafer products require

sleeves or wrappers. Packaging is a necessary component of novelty ice cream products

that must be purchased by producers of these products. NDS is the dominant supplier of

this packaging.

       26.       Additionally, NDS possesses monopoly power in the market for filling

machines used to produce novelty ice cream products. Specific machines are used to

produce novelty cone, sandwich or wafer, cup, and tube products. NDS is the dominant

supplier of each type of machine. For machines used to fill novelty cone products, NDS

possesses approximately 60% of the market. For machines used to fill wafer products,

NDS possesses 90% of the market.



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       27.    To maximize its control of the various markets in which it sells products

and to leverage its monopoly power, NDS does not sell filling machines. Instead, NDS

provides them to dairies only through lease. The leases contain exclusionary provisions.

For example, NDS’s machine leases state that dairies can only use NDS cones, wafers, or

packaging on the NDS machines. This provision excludes alternative suppliers of cones

and wafers from the vast majority of the market for these products. This provision also

coerces lessees of NDS filling machines to purchase cones and wafers from NDS.

       28.    There is no legitimate business justification for NDS’s refusal to sell its

filling machines or for its mandated exclusion of alternative cone and wafer products

from its machines. Rival cones and wafers can be designed to be compatible with NDS

machines. NDS uses its leases to exercise continuing control over dairies and, in

particular, to preclude them from purchasing cones or wafers from an alternative supplier.

       29.    In addition to machines, cones, wafers, and packaging products, NDS offers

support services to dairies, including product development and marketing support. NDS

functionally bundles these services with its products in order to render dairies dependent

on NDS. As a result, it is impossible for many dairies to pull all, or even a significant

portion, of their business from NDS in favor of an alternative supplier.

       30.    With interlocking monopolies in the cone, wafer, packaging, and machine

markets, NDS has charged customers supra-competitive prices.

BoDeans’Entry Into The Novelty Cone Market

       31.    BoDeans entered the novelty cone market in 2000 at the urging of Wells

Dairy, an Iowa-based producer of novelty ice cream products frustrated by the lack of


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competition in the market for novelty cones. BoDeans established itself as the only

competitor to NDS in the novelty cone market, and it remains so.

       32.    BoDeans entered the market with the scale and technology to produce

novelty cones more efficiently than NDS. Through various expansions, BoDeans

constructed and operates out of a 75,000 square-foot facility in Le Mars, Iowa with state-

of-the-art machines. The facility enables BoDeans to compete head-to-head with NDS in

terms of capacity, quality, and price. BoDeans is capable of supplying dairies of every

size and need.

       33.    In 2000, BoDeans began selling novelty cones of comparable quality to

NDS cones, often at lower prices. Producers of novelty cone products welcomed the

competition and BoDeans quickly gained customers, including Wells Dairy and other

producers.

       34.    In 2001, NDS responded to BoDeans’market success by adopting

exclusive dealing contracts and a bundled pricing program. For example, NDS offered

significant yearly rebates to customers that agreed to purchase 100% of their cones and

wafers from NDS. At the time, BoDeans did not sell wafers and could not compete

unless it discounted its cone products to the full extent of the bundled discount offered by

NDS.

       35.    BoDeans raised the anticompetitive nature of these contracting practices

with NDS, and NDS substantially modified the program as a result. In particular, NDS

reduced the required purchase commitment for rebates to 50% of each product category.




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Able to compete on a more level playing field, BoDeans captured approximately 35% of

the novelty cone market in subsequent years.

       36.    With its success in the novelty cone market, BoDeans entered the wafer

market in 2006, again at the request of Wells Dairy. BoDeans entered the market

aggressively by building a state-of-the-art, 92,000 square-foot manufacturing facility in

Le Mars, Iowa. With new technology and a large scale, BoDeans is able to match or

exceed the quality of NDS’s wafers, while producing the wafers at least as efficiently.

NDS Adopts Anticompetitive Measures To Restrict BoDeans’Expansion

       37.    Faced with BoDeans’market success in novelty cones and the presence of

competition for the first time in wafers, NDS exploited its monopoly power. NDS once

again implemented exclusive dealing contracts and bundled pricing with the intent to

exclude BoDeans from the wafer market and to reverse BoDeans’gains in the novelty

cone market. NDS also used its leases for filling machines, and control of the filling

machine market, to preclude customers from purchasing cones or wafers from BoDeans.

       38.    Since BoDeans now offers wafers and cones, NDS added packaging

products to its bundled discounting program. NDS offers steep discounts to customers

that agree to purchase 100% of their cones, wafers, and packaging from NDS. The

contracts containing the 100% exclusivity provision and bundled discounts generally

have terms spanning multiple years.

       39.    The 100% exclusivity requirement imposed by NDS makes it impossible

for a substantial share of cone and wafer customers to purchase from BoDeans (or any

other potential competitor). NDS has placed customers in the position of buying all or


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none of their cone and wafer needs from NDS to obtain discounts, but very few

customers have the option of completely declining to do business with NDS. Barriers to

switching all business to BoDeans or a new entrant include: potential loss of NDS filling

machines and the cost of acquiring new machines; the need to purchase packaging from

NDS; costs of switching and retraining; and the need to gradually introduce new products

to ensure compliance with quality and safety standards.

      40.    NDS has manipulated its bundled pricing program so that BoDeans cannot

profitably compete on price. NDS significantly increased the size of the discounts so as

to preclude BoDeans from being able to match the discount on any one product, despite

producing cones and wafers at least as efficiently as NDS. On information and belief,

NDS’s discounts, when totaled and applied to any one product, result in NDS selling

cones or wafer products below cost.

      41.    The effect of NDS’s 100% exclusivity requirement is to preclude any NDS

customer from buying any novelty cones or wafer from BoDeans. Given NDS’s

complete control over the wafer market, this reality has foreclosed BoDeans from a

substantial portion of the market. In particular, BoDeans is effectively foreclosed from

selling to any customer that purchases multiple products from NDS and/or uses NDS

filling equipment. As a result, BoDeans faces exclusion from any customer that

purchases from NDS. This includes many of BoDeans’existing customers.

      42.      The timing, structure, and effect of NDS’s exclusive contracts and

bundled discount scheme demonstrate its intent to maintain or reassert its monopoly of




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the novelty cone and wafer markets by excluding BoDeans, and all potential competitors,

from the market.

       43.    Moreover, NDS’s exclusionary leasing provisions for its filling machines

foreclose a substantial share of the market. The 90% of wafer-consuming companies that

use NDS machines cannot purchase wafers from BoDeans without adding a second

machine, which creates artificial, steep barriers to competing. Additionally, BoDeans

cannot introduce, or qualify, its wafers to dairies unless the dairy first obtains a non-NDS

machine.

       44.    The exclusive leasing provision, which prevents dairies from using non-

NDS cones or wafers on NDS machines, is coercive. Companies have few choices in

machine suppliers, and switching machines entails capital and retraining costs. As a

result, many dairies are effectively compelled to purchase NDS cones and wafers to

obtain or retain NDS filling machines.

NDS’s Misconduct Has Caused Anticompetitive Impacts

       45.    BoDeans has suffered tangible and intangible harm as a result of NDS’s

anticompetitive conduct. BoDeans invested heavily to enter the cone and wafer markets

with a quality product and sufficient capacity to win customers and market share. NDS’s

exclusive contracts, bundled pricing, and tying arrangements have cost BoDeans business

and limited competitive options to NDS.

       46.    In its wafer business, NDS has preserved its monopoly control over the

wafer business by preventing BoDeans from entering the market as a viable competitor.




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BoDeans has been unable to win any significant market share, despite offering a product

of comparable quality generally at prices below NDS’s.

       47.      In the novelty cone business, BoDeans has lost customers and market share

as a result of NDS’s anticompetitive conduct. For example, Ice Cream Specialties, an

Indiana-based dairy and former BoDeans’customer, entered a 3-year exclusive deal with

NDS for cones and wafers in 2008. While BoDeans’products had been qualified for

purchase by Ice Cream Specialties, BoDeans will likely be unable to make any sales to

this account.

       48.      In late 2008, former BoDeans’customer Dean Foods (Mayfield Dairy,

located in Athens, Tennessee) entered a multi-year exclusive contract with NDS

containing bundled discounts. BoDeans lost $800,000 in sales on cone and wafer

products as a result.

       49.      Fieldbrook Farms, a BoDeans’customer in New York, recently notified

BoDeans that it will likely terminate its contract with BoDeans in May 2009, having

entertained an exclusive multi-year contract with NDS containing bundled discounts.

BoDeans faces the imminent loss of $1,600,000 in sales of existing cone business and the

lost opportunity to sell wafer products. Loss of the Fieldbrook Farms account would

likely force BoDeans to slow production and lay off workers.

       50.      NDS’s anticompetitive practices have cost BoDeans millions of dollars in

lost sales. Due to NDS’s misconduct, BoDeans may need to lay off workers and take

other measures to contract its business. Beyond the economic damages, BoDeans has

suffered intangible harms, such as lost good will among its customers and lost business


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relationships. Lost sales also undermine BoDeans’ability to invest in new efficiencies

and product innovations, harming its ability to compete against NDS.

      51.    NDS’s anticompetitive conduct has directly undermined overall

competition in the novelty cone and wafer markets. BoDeans has been the only

competitive option to NDS in these markets, and NDS’s conduct threatens BoDeans’

viability as a competitive option and hence competition overall.

      52.    If NDS succeeds with its scheme to undermine the competition posed by

BoDeans, customers face the likelihood that NDS will have the power to recoup any

current price discounts in the future. BoDeans represents the only competitive restraint

on NDS’s prices, and there are no other likely new entrants to the markets. If NDS harms

BoDeans’ability to compete, NDS will be free to raise prices and recoup past discounts.

                        COUNT ONE: MONOPOLIZATION

                        VIOLATION OF SHERMAN ACT § 2

      53.    BoDeans realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 52, above.

      54.    NDS possesses monopoly power in the novelty cone and wafer markets.

      55.    NDS has unlawfully maintained its monopoly power in violation of

Section 2 of the Sherman Act, 15 U.S.C. § 2. NDS has demonstrated an ability to

exclude competitors and control prices in these markets.

      56.    In furtherance of its unlawful maintenance of monopoly power, NDS has

undertaken anticompetitive and exclusionary conduct intended to preclude BoDeans from

competing successfully in the relevant markets. NDS’s anticompetitive and exclusionary


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conduct includes: a) entering into exclusive dealing agreements with dairies and other

direct customers of novelty cones; b) bundling discounts on wafers, cones, and

packaging; and c) tying filling machine leases to exclusive purchasing requirements for

cones and wafers.

      57.    There is no business justification or pro-competitive rationale for NDS’s

exclusionary contracts, bundled discounts, or exclusionary machine leases.

      58.    BoDeans has suffered and will suffer antitrust injury. NDS’s conduct has

caused BoDeans to lose customers that it had or would have had absent NDS’s

anticompetitive conduct. NDS’s conduct has caused BoDeans to lose customer good will

undermined its ability to expand in the relevant markets, and has caused, and threatens to

continue to cause, BoDeans to lose business and suffer damages.

      59.    NDS’s actions have reduced and are likely to reduce competition for

customers of novelty cones and wafers. Ultimately, NDS’s actions have caused, or are

likely to cause, dairy customers to pay more for cones and wafers and consumers to pay

more for novelty ice cream products.

                 COUNT TWO: ATTEMPTED MONOPOLIZATION

                        VIOLATION OF SHERMAN ACT § 2

      60.    BoDeans realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 59, above.

      61.    If NDS has not already achieved and maintained monopoly power, there is

a dangerous probability that NDS will acquire monopoly power in the novelty cone and

wafer markets.


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       62.    NDS has engaged in anticompetitive conduct designed to gain and/or

maintain monopoly control of the novelty cone and wafer markets. NDS’s

anticompetitive and exclusionary conduct includes: a) entering into exclusionary

agreements with dairies and other direct customers of novelty cones; b) bundling

discounts on wafers, cones, packaging, and/or related services; and c) tying filling

machines leases to exclusive purchasing requirements for cones and wafers.

       63.    NDS has undertaken this anticompetitive conduct with the intent to exclude

BoDeans from the novelty cone and wafer markets and to acquire monopoly power in

these markets.

                     COUNT THREE: RESTRAINT OF TRADE

                        VIOLATION OF SHERMAN ACT § 1

       64.    Plaintiffs reallege and incorporate by reference the allegations set forth in

paragraphs 1 through 63.

       65.    NDS has entered into exclusive dealing agreements with dairies that

unreasonably restrain trade. Specifically, NDS’s machine filling leases and its pricing

programs require customers to purchase 100% of their novelty cones and wafers from

NDS.

       66.    NDS has entered into exclusionary bundled rebate agreements with dairies

that unreasonably restrain trade. Specifically, NDS offers discounts to customers only if

they purchase 100% of novelty cones and wafers from NDS.

       67.    These agreements have no business justification or pro-competitive

rationale.


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       68.    NDS’s agreements alleged above are an unreasonable restraint of trade and

violate Section 1 of the Sherman Act, 15 U.S.C. § 1.

       69.    BoDeans has suffered and will suffer antitrust injury. NDS’s conduct has

hindered and delayed BoDeans’ability to enter into and expand in the novelty cone and

wafer markets, and has caused, and threatens to continue to cause, it to lose business and

suffer damages.

       70.    NDS’s actions have excluded competition from the markets for novelty

cones and wafers. Ultimately, NDS’s actions will cause dairy customers to pay higher

prices for cones and wafers and consumers to pay a higher price for novelty ice cream

products than would be the case in a competitive market.

                                COUNT FOUR: TYING

                        VIOLATION OF SHERMAN ACT § 1

       71.    BoDeans realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 70.

       72.    Novelty cones, wafers, packaging, and filling machines are distinct and

separate products.

       73.    NDS has conditioned the placement of filling machines on the purchase of

wafers, cones, and packaging from NDS by requiring lessees of filling machines to use

only NDS cones, wafers, and packaging on NDS machines.

       74.    NDS possesses such power in the market for filling machines that its lease

terms are coercive. Dairies have insufficient alternatives to negotiate alternative lease

terms or to reject NDS’s leasing program altogether.


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           75.   There is substantial interstate commerce involved in the novelty cone,

wafer, and packaging markets.

           76.   NDS’s leasing requirements constitute tying arrangements that are per se

illegal.

           77.   BoDeans has suffered and will suffer antitrust injury. NDS’s conduct has

hindered and delayed BoDeans’ability to enter into and expand in the novelty cone and

wafer markets, and has caused, and threatens to continue to cause, it to lose business and

suffer damages.

                         COUNT FIVE: EXCLUSIVE DEALING

                           VIOLATION OF CLAYTON ACT § 3

           78.   BoDeans realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 77.

           79.   NDS has entered into exclusive and de facto exclusive dealing agreements

with dairies and customers that may tend to substantially lessen competition in, or tend to

create a monopoly in, one or more lines of commerce, namely the sale of novelty cones

and wafers. These exclusive and de facto exclusive dealing agreements, including NDS’s

exclusionary bundled pricing program and its exclusionary machine leasing provisions,

preclude competition from BoDeans and all other potential competitors in the market for

novelty cones and wafers, with no business justification or pro-competitive rationale.

           80.   NDS’s exclusive and de facto exclusive agreements violate Section 3 of the

Clayton Act, 15 U.S.C. § 14.




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      81.    BoDeans has suffered and will suffer antitrust injury. NDS’s conduct has

hindered and delayed BoDeans’ability to enter into and expand in the relevant markets,

and has caused, and threatens to continue to cause, BoDeans to lose business and suffer

damages.

      82.    NDS’s actions have excluded competition from the markets for novelty

cones and wafers. Ultimately, NDS’s actions will cause dairy customers to pay higher

prices for cones and wafers and consumers to pay a higher price for novelty ice cream

products than would be the case in a competitive market.

            COUNT SIX: VIOLATION OF IOWA COMPETITION LAW

                                 IOWA CODE § 553.5

      83.    BoDeans realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 82.

      84.    NDS possesses monopoly power, or is attempting to establish monopoly

power, in the markets for novelty cones and wafers.

      85.    NDS is using its monopoly power to exclude BoDeans and other potential

competitors from the relevant markets. In particular, NDS is using a bundled pricing

scheme, exclusive dealing contracts, and tying arrangements to exclude BoDeans from

the market and to foreclose competition.

      86.    BoDeans has suffered and will suffer antitrust injury. NDS’s conduct has

hindered and delayed BoDeans’ability to enter into and expand in the relevant markets,

and has caused, and threatens to continue to cause, BoDeans to lose business and suffer

damages.


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                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief from the Court:

       A.     A declaration that NDS has unlawfully monopolized, and/or attempted to

monopolize, the novelty cone and wafer markets, in violation of Section 2 of the Sherman

Act, 15 U.S.C. § 2.

       B.     A declaration that NDS unreasonably restrained trade in the novelty cone

and wafer markets, in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       C.     A declaration that NDS has engaged in illegal tying arrangements in

violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       D.     A declaration that NDS has unlawfully engaged in exclusive dealing that

may substantially reduce competition or may tend to create a monopoly in the novelty

cone and wafer markets, in violation of Section 3 of the Clayton Act, 15 U.S.C. § 14.

       E.     A declaration that NDS has unlawfully used monopoly power to exclude

competition, in violation of the Iowa Competition Law, Iowa Code § 553.5.

       F.     An award of treble damages in an amount to be proven at trial, and

attorneys’fees and costs of suit, pursuant to Section 4 of the Clayton Act, 15 U.S.C. § 15.

       G.     An award of double damages in an amount to be proven at trial, and

attorneys’fees and costs of suit, pursuant to Iowa Code § 553.12.

       H.     Preliminary and permanent injunctive relief prohibiting NDS from entering

or enforcing exclusionary contracts and further requiring NDS to take affirmative steps to

ensure that purchasers of novelty cone and wafers know they are not contractually

precluded from purchasing BoDeans’(or any new entrant’s) cones and wafers.


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      I.       Preliminary and permanent injunctive relief prohibiting NDS from using

bundled pricing.

      J.       Preliminary and permanent injunctive relief prohibiting NDS from entering

or enforcing exclusionary provisions in its machine leases.

      K.       Preliminary and permanent injunctive relief prohibiting NDS from

continuing violations of Sections 1 and 2 of the Sherman Act, and Section 3 of the

Clayton Act.

      L.       Such other and further relief as the Court deems just and necessary.




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                                 JURY TRIAL DEMAND

          BoDeans demands trial by jury.



Dated: February 17, 2009                      FAEGRE & BENSON LLP


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